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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA
                                        MIAMI DIVISION

                                               CASE NO.:

  WINDY LUCIUS,

          Plaintiff,

  v.

  HAUTE CUISINE, INC.

          Defendant.
                                                                  /

                               COMPLAINT FOR INJUNCTIVE RELIEF

          Plaintiff Windy Lucius (“Plaintiff”) hereby sues the Defendant, Haute Cuisine, Inc.

  (“Defendant”), a foreign profit corporation doing business in Florida, for Injunctive Relief,

  attorney’s fees, litigation expenses and costs pursuant to Title III of the Americans with Disabilities

  Act of 1990, as amended, 42 U.S.C. §§s 12181-12189 (“ADA”), 28 C.F.R. Part 36, et seq.

          1.      Venue lies in the Southern District of Florida pursuant to 28 U.S.C. § 1391(b) and

  Local Rule 3.1, in that the original transaction or occurrence giving rise to this cause of action

  occurred in this District.

          2.      Pursuant to 28 U.S.C. § 1331 and 28 U.S.C. § 1343, this Court has been given

  original jurisdiction over actions which arise from the Defendant’s violations of Title III of the

  Americans with Disabilities Act, 42 U.S.C. § 12181 et seq. See also 28 U.S.C. § 2201 and § 2202.

          3.      Plaintiff is a Florida resident, lives in Miami-Dade County, is sui juris, and qualifies

  as an individual with disabilities as defined by the ADA. Plaintiff is legally blind and a member

  of a protected class under the ADA, 42 U.S.C. §§ 12102(1)-(2), the regulations implementing the

  ADA set forth at 28 CFR §§ 36.101 et seq. and in 42 U.S.C. 3602, §802(h). Plaintiff is substantially
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  limited in the major life activity of seeing. Plaintiff’s disability is defined in 28 C.F.R.

  §36.105(b)(2).

         4.        Plaintiff is blind. She uses the internet and a mobile device to help her navigate a

  world of goods, products and services like the sighted. The internet, websites and mobile

  applications provide her a window into the world that she would not otherwise have. She brings

  this action against Defendant for offering and maintaining a mobile website (software that is

  intended to run on mobile devises such as phones or tablet computers) that is not fully accessible

  and independently usable by visually impaired consumers. Plaintiff utilizes the Apple Screen

  Reader VoiceOver software to read computer materials and/or access and comprehend internet

  mobile website information which is specifically designed for the visually impaired.

         5.        Plaintiff is also an advocate of the rights of similarly situated disabled persons and

  is a “tester” for the purpose of asserting her civil rights and monitoring, ensuring, and determining

  whether places of public accommodation and/or their mobile websites are in compliance with the

  ADA.

         6.        Defendant owns and operates a place of public accommodation which is an upscale

  specialty restaurant branded as “Pascal’s on Ponce.” The Pascal’s on Ponce restaurant is located

  within Miami-Dade County at 2611 Ponce de Leon Boulevard, Coral Gables, Florida 33134 and

  is open to the public. As such, it is a Place of Public Accommodation subject to the requirements

  of Title III of the ADA and its implementing regulation as defined by 42 U.S.C. §12181(7)(B),

  §12182, and 28 C.F.R. §36.104(2). The Pascal’s on Ponce restaurant is also referenced throughout

  as “place(s) of public accommodation,” “Pascal’s on Ponce restaurant,” or “restaurant.”

         7.        Defendant is defined as a “Public Accommodation" within meaning of Title III

  because Defendant is a private entity which owns and/or operates “[A] restaurant, bar, or other




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  establishment serving food or drink,” 42 U.S.C. §12181(7)(B) and 28 C.F.R. §36.104(2).

           8.       Subsequent to the effective date of the ADA, Defendant constructed, or caused to be

  constructed, the http://pascalmiamicom mobile website (hereinafter “mobile website”) for the

  general public to access on their mobile devices (phones, tablets). This mobile website supports,

  is an extension of, is in conjunction with, is complementary and supplemental to, Defendant’s

  Pascal’s on Ponce restaurant. The mobile website delineates the goods, services, accommodations,

  privileges, benefits and facilities available to patrons at the restaurant’s physical location.

           9.       The mobile website is offered by Defendant as a way for the public to become

  familiar with the Pascal’s on Ponce menu selections, as well as information on hours of operation,

  restaurant location, provides a link to reserve a table for dining within the restaurant, sign up for

  the restaurant’s newsletter, provides a link to Uber Eats, and provides other information the

  Defendant seeks to communicate to the public. The mobile website also enables the public/patrons

  to place an order online and have the order ready for pick up at the restaurant. By the provision of

  menu selection, reservation services, and to-go order selection, the mobile website is an integral

  part of the goods and services offered by Defendant. By this nexus, the mobile website is

  characterized as a Place of Public Accommodation to Title III of the ADA1, 42 U.S.C. §

  12181(7)(B).

           10.      Defendant’s mobile website allows mobile device users to use a mobile platform

  through a connection to Wi-Fi or cellular data so that users can manage their dining choice from

  their mobile device. As such, it has subjected itself to the ADA because its mobile website is


  1
    “The Department of Justice has long taken the position that both State and local government Websites and the
  websites of private entities that are public accommodations are covered by the ADA. In other words, the websites of
  entities covered by both Title II and Title III of the statute are required by law to ensure that their sites are fully
  accessible to individuals with disabilities.” (See: Statement of Eve Hill Senior Counselor to the Assistant Attorney
  General for the Civil Rights Department of Justice - Before the Senate Committee on Health, Education, Labor &
  Pensions United States Senate – Concerning The Promise of Accessible Technology: Challenges and Opportunities –
  Presented on February 7, 2012.


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  offered as a tool to promote, advertise and sell its products and services from its brick-and-mortar

  restaurant location which is a place of public accommodation. As a result, Defendant’s mobile

  website must interact with its restaurant and the public, and in doing so must comply with the

  ADA, which means it must not discriminate against individuals with disabilities and may not deny

  full and equal enjoyment of the goods and services afforded to the general public. 2

          11.      Defendant’s mobile website does not properly interact with the VoiceOver screen

  reader software technology in a manner that allows blind and visually impaired individuals to

  comprehend the mobile website and does not provide other means to accommodate blind and

  visually impaired individuals.

          12.      Plaintiff has attempted to patronize Defendant’s mobile website in the past and

  intends to continue to make further attempts to patronize Defendant’s mobile website. Like the

  seeing community, she would like to be able to use the Defendant’s mobile website to comprehend

  the restaurant menu selections, make reservations to dine in the Pascal’s on Ponce restaurant, and

  to order food online. However, unless Defendant is required to eliminate the access barriers at

  issue and required to change its policies so that access barriers do not reoccur, Plaintiff will

  continue to be denied full and equal access to the mobile website as described and will be deterred

  from fully using Defendant’s mobile website or dining at Defendant’s restaurant in Coral Gables,

  Florida.

          13.      Plaintiff has attempted to utilize the mobile website and/or plans to continue to

  attempt to utilize the mobile website in the near future. In the alternative, Plaintiff intends to monitor

  the mobile website in the near future, as a tester, to ascertain whether it has been updated to interact



  2
   According to Statista, almost half of web traffic in the United States originated from mobile devices in 2021.
  Therefore, Defendant knew or should have known that potential customers would be using the mobile version of its
  website and provided accessibility for blind users.


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  properly with VoiceOver screen reader software.

          14.    Plaintiff is continuously aware of the violations on Defendant’s mobile website and

  is aware that it would be a futile gesture to attempt to utilize the mobile website as long as those

  violations exist unless she is willing to suffer additional discrimination.

          15.    Defendant and alike restaurants are fully aware of need to provide full access to all

  visitors to its mobile website as such barriers result in discriminatory and unequal treatment of

  individuals with disabilities who are visually impaired and result in punishment and isolation of

  blind and low vision individuals from the rest of society.

          16.    Plaintiff has no plain, adequate, or complete remedy at law to redress the wrongs

  alleged herein and this action is her only means to secure adequate redress from Defendant’s

  discriminatory practice.

          17.    Notice to Defendant is not required as a result of Defendant’s failure to cure the

  violations. Enforcement of the rights of Plaintiff is right and just pursuant to 28 U.S.C. §§ 2201,

  2202.

          18.    Plaintiff has been obligated to retain the civil rights law office of J. Courtney

  Cunningham, PLLC and has agreed to pay a reasonable fee for services in the prosecution of this

  cause, including costs and expenses incurred. Plaintiff is entitled to recover those attorney’s fees,

  costs and expenses from Defendant pursuant to 42 U.S.C. §12205 and 28 CFR 36.505.

                     COUNT I – VIOLATIONS OF TITLE III OF THE ADA

          19.    The ADA and implementation of ADAAG requires that Public Accommodations

  (and Places of Public Accommodation) are required to ensure that communication is effective,

  which includes the provision of auxiliary aids and services for such purpose.

          20.    According to 28 C.F.R. Section 36.303(b)(1), auxiliary aids and services includes




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  “voice, text, and video-based telecommunications products and systems.” 28 C.F.R. Section

  36.303(b)(2) specifically states that (VoiceOver) screen reader software is an effective method of

  making visually delivered material available to individuals who are blind or have low vision.

         21.     28 C.F.R. Section 36.303(c)(1)(ii) specifically states that public accommodations

  must furnish appropriate auxiliary aids and services where necessary to ensure effective

  communication with individuals with disabilities. “In order to be effective, auxiliary aids and

  services must be provided in accessible formats, in a timely manner, and in such a way as to protect

  the privacy and independence of the individual with a disability.”

         22.     Part 36 of Title 28 of the C.F.R. was designed and is implemented to effectuate

  subtitle A of Title III of the ADA, which prohibits discrimination on the basis of disability by

  public accommodations and requires places of public accommodation to be designed, constructed,

  and altered in compliance with the accessibility standards established by Part 36.

         23.     Defendant’s mobile website has been designed to integrate with its Pascal’s on

  Ponce brick-and-mortar restaurant through provision of a reservation service and the provision of

  a to-go order menu; therefore, the mobile website is an extension of Defendant's Place of Public

  Accommodation. By and through its mobile website, Defendant extends its Place of Public

  Accommodation into individual persons' homes and portable devices wherever located. The mobile

  website is a service, facility, privilege, advantage, benefit and accommodation of Defendant's Place

  of Public Accommodation. As such, Defendant’s mobile website is integrated with, and is a nexus

  to, its brick-and-mortar location. Therefore, it is governed by the following provisions:

                 a.      U.S.C. Section 12182(a) provides: “No individual shall be discriminated

  against on the basis of disability in the full and equal enjoyment of the goods, services, facilities,

  privileges, advantages, or accommodations of any place of public accommodation by any person




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  who owns, leases (or leases to), or operates a place of public accommodation.”

                 b.      42 U.S.C. Section 12182(b)(1)(A)(i) provides: “It shall be discriminatory to

  subject an individual or class of individuals on the basis of a disability or disabilities of such

  individual or class, directly, or through contractual, licensing, or other arrangements, to a denial

  of the opportunity of the individual or class to participate in or benefit from the goods, services,

  facilities, privileges, advantages, or accommodations of an entity[.]”

                 c.      42 U.S.C. Section 12182(b)(1)(A)(ii) provides: “It shall be discriminatory to

  afford an individual or class of individuals, on the basis of a disability or disabilities of such

  individual or class, directly, or through contractual, licensing, or other arrangements with the

  opportunity to participate in or benefit from a good, service, facility, privilege, advantage, or

  accommodation that is not equal to that afforded to other individuals[.]”

                 d.      42 U.S.C. Section 12182(b)(1)(A)(ii) provides: “It shall be discriminatory to

  provide an individual or class of individuals, on the basis of a disability or disabilities of such

  individual or class, directly, or through contractual, licensing, or other arrangements with a good,

  service, facility, privilege, advantage, or accommodation that is different or separate from that

  provided to other individuals, unless such action is necessary to provide the individual or class of

  individuals with a good, service, facility, privilege, advantage, or accommodation, or other

  opportunity that is as effective as that provided to others[.]”

                 e.      42 U.S.C. Section 12182(b)(1)(B) provides: “Goods, services, facilities,

  privileges, advantages, and accommodations shall be afforded to an individual with a disability in

  the most integrated setting appropriate to the needs of the individual.”

                 f.      42 U.S.C. Section 12182(b)(1)(C) provides: “Notwithstanding the existence

  of separate or different programs or activities provided in accordance with this section, an




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  individual with a disability shall not be denied the opportunity to participate in such programs or

  activities that are not separate or different.”

                  g.       42 U.S.C. Section 12182(b)(2)(ii) describes as discrimination: “a failure to

  make reasonable modifications in policies, practices, or procedures, when such modifications are

  necessary to afford such goods, services, facilities, privileges, advantages, or accommodations to

  individuals with disabilities, unless the entity can demonstrate that making such modifications

  would fundamentally alter the nature of such goods, services, facilities, privileges, advantages, or

  accommodations[.]”

                  h.       42 U.S.C. Section 12182(b)(2)(iii) describes as discrimination: “a failure to

  take such steps as may be necessary to ensure that no individual with a disability is excluded,

  denied services, segregated or otherwise treated differently than other individuals because of the

  absence of auxiliary aids and services, unless the entity can demonstrate that taking such steps

  would fundamentally alter the nature of the good, service, facility, privilege, advantage, or

  accommodation being offered or would result in an undue burden[.]”

          24.     Plaintiff attempted to access and/or utilize Defendant's mobile website, but was

  unable to, and she continues to be unable to enjoy full and equal access to the mobile website

  and/or understand the content therein because numerous portions of the mobile website do not

  interface with VoiceOver screen reader software. Specifically, features of the mobile website that

  are inaccessible to VoiceOver screen reader software users include, but are not limited to, the

  following (citing the WCAG 2.1 Level A and AA Guidelines):

    i.    Guideline 1.3.1 Info and Relationships is violated. Accessibility issues are present in the
          PDF menu. For example, when a mobile user swipes to the Champagnes section, the
          product names are announced all at once. With the next swipe, focus moves to the prices
          and three product prices are announced, but VoiceOver screen reader software users do not
          hear which products these prices pertain to and the amounts are announced without
          formatting. For example, a VoiceOver screen reader software users will hear the



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          Champagne prices as "90120NV120."

    ii.   Guideline 1.4.5 Images of Text is violated. The site does not use images of text (so that
          screen readers are unable to comprehend). For example, two images with text are shown at
          the top gift card page. The second includes text about a gift card promotion, but neither
          image is announced

   iii.   Guideline 2.4.3 Focus order: The site is required to provide focus in a logical order, and
          this has been violated. VoiceOver screen reader software users are unable to make a
          reservation using the mobile website. Once the date picker is opened, then a list of
          instructions is announced for keyboard users, however instructions are not present for
          mobile users.) After instructions are announced, then focus moves to hidden elements
          instead of the date picker.

   iv.    Guideline 2.4.4 Link purpose (in context) is violated, and multiple unlabeled links are
          present. For example, none of the social media icons are labeled, and after swiping past,
          focus moves to a hidden element and announces "pascalson Ponce link."

    v.    Guideline 3.3.1 Error identification is violated. For example, after submitting an
          incomplete email address in the newsletter field, then the email field turned red and two
          error suggestions were displayed, but neither were announced. Instead, VoiceOver screen
          reader software users are taken to the top of the page after they press submit and they do
          not hear any error alerts or messages. They must then swipe back down to the email field,
          and only then will they know that the form wasn't submitted and errors are present

   vi.    Guideline 3.3.2 Labels or Instructions is violated. For example, the reservation widget has
          multiple unlabeled elements that do receive focus and are announced so VoiceOver screen
          reader software users must swipe through each one, but they won't hear labels that are
          descriptive. For example, each field has a chevron. Each chevron receives focus
          independently of the specific field and is announced as only "m." The calendar icon is
          announced as "d," the time icon is announced only as "t" and the people icon is announced
          as just "p."

          25.    As the owner and/or operator of the Pascal’s on Ponce restaurant mobile website,

  Defendant is required to comply with the ADA and the provisions cited above. This includes

  Defendant’s obligation to create and maintain a mobile website that is accessible to and usable by

  visually impaired persons so that they can enjoy full and equal access to the mobile website and

  the content therein, including the ability to make a reservation to dine within the Pascal’s on Ponce

  restaurant.

          26.    With respect to its mobile website, Defendant has violated the ADA by failing to



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   interface its mobile website with VoiceOver screen reader software utilized by visually impaired

   individuals (as specifically delineated within paragraph 24) either directly or through contractual,

   licensing or other arrangements. Defendant’s violations have resulted in Defendant denying

   Plaintiff accommodation on the basis of her disability:

                  a.      by depriving Plaintiff of the full and equal enjoyment of the goods, services,

   facilities, privileges, advantages, or accommodations of its place of public accommodation (42

   U.S.C. § 12182(a));

                  b.      in the denial of providing Plaintiff the opportunity to participate in or benefit

   from the goods, services, facilities, privileges, advantages, or accommodations (42 U.S.C. §

   12182(b)(1)(A)(i));

                  c.      in failing to afford Plaintiff the opportunity to participate in or benefit from

   a good, service, facility, privilege, advantage, or accommodation that is equal to that afforded to

   other individuals (42 U.S.C. § 12182(b)(1)(A)(ii));

                  d.      by providing Plaintiff a good, service, facility, privilege, advantage, or

   accommodation that is different or separate from that provided to other individuals (unless

   such action is necessary to provide the individual or class of individuals with a good, service,

   facility, privilege, advantage, or accommodation, or other opportunity that is as effective as that

   provided to others) (42 U.S.C. § 12182(b)(1)(A)(iii));

                  e.      by failing to afford Plaintiff goods, services, facilities, privileges,

   advantages, and accommodations in the most integrated setting appropriate to the needs of the

   disabled individual (42 U.S.C. § 12182(b)(1)(B));

                  f.      notwithstanding the existence of separate or different programs or activities

   provided in accordance with this section, by denying Plaintiff the opportunity to participate in such




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   programs or activities that are not separate or different. (42 U.S.C. § 12182(b)(1)(C));

                  g.      by a failure to make reasonable modifications in policies, practices, or

   procedures, when such modifications are necessary to afford such goods, services, facilities,

   privileges, advantages, or accommodations to individuals with disabilities (unless the entity can

   demonstrate that making such modifications would fundamentally alter the nature of such goods,

   services, facilities, privileges, advantages, or accommodations) (42 U.S.C. § 12182(b)(2)(ii)); and,

                  h.      by a failure to take such steps as may be necessary to ensure that disabled

   individuals are not excluded, denied services, segregated or otherwise treated differently than other

   individuals because of the absence of auxiliary aids and services (unless the entity can demonstrate

   that taking such steps would fundamentally alter the nature of the good, service, facility, privilege,

   advantage, or accommodation being offered or would result in an undue burden) (42 U.S.C. §

   12182(b)(2)(iii)).

          27.     Plaintiff continues to attempt to utilize the mobile website and/or plans to continue

   to attempt to utilize the mobile website to review the menu, to make online reservations for dining

   within the restaurant or ordering from the “to go” menu.

          28.     Plaintiff is continuously aware of the violations within Defendant's mobile website

   and is aware that it would be a futile gesture to attempt to utilize the mobile website as long as

   those violations exist unless she is willing to suffer additional discrimination.

          29.     Plaintiff has suffered (and continues to suffer) frustration and humiliation as the

   result of the discriminatory conditions present within Defendant's mobile website. By continuing

   to operate its mobile website with discriminatory conditions, Defendant contributes to Plaintiff's

   sense of isolation and segregation and deprives Plaintiff the full and equal enjoyment of the goods,

   services, facilities, privileges and/or accommodations available to the general public. By




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   encountering the discriminatory conditions within Defendant's mobile website and knowing that

   it would be a futile gesture to attempt to utilize the mobile website unless she is willing to endure

   additional discrimination, Plaintiff is deprived of the meaningful choice of freely visiting and

   utilizing the same accommodations readily available to the general public and is deterred and

   discouraged from doing so. By maintaining a mobile website with violations, Defendant deprives

   Plaintiff the equality of opportunity offered to the general public.

             30.   Plaintiff has suffered (and will continue to suffer) direct and indirect injury as a result

   of Defendant’s discrimination until Defendant is compelled to comply with the requirements of the

   ADA and conform its mobile website to WCAG 2.1 Level A and AA Guidelines.

             31.   Plaintiff has a realistic, credible, existing and continuing threat of discrimination

   from Defendant’s non-compliance with the ADA with respect to its mobile website. Plaintiff has

   reasonable grounds to believe that she will continue to be subjected to discrimination in violation

   of the ADA by Defendant. Plaintiff desires to access the mobile website to avail herself of the

   benefits, advantages, goods and services therein, and/or to assure herself that this mobile website is

   in compliance with the ADA so that she and others similarly situated will have full and equal

   enjoyment of the mobile website without fear of discrimination.

             32.   Plaintiff is without adequate remedy at law and has suffered (and will continue to

   suffer) irreparable harm. The Plaintiff and all others similarly situated will continue to suffer such

   discrimination, injury and damage without the immediate relief provided by the ADA as requested

   herein.

             33.   Pursuant to 42 U.S.C. § 12188, this Court is provided with authority to grant Plaintiff

   Injunctive Relief, including an order to require Defendant to alter its mobile website to make it

   readily accessible to and usable by Plaintiff and other persons with vision impairments.




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          WHEREFORE, Plaintiff Windy Lucius hereby demands judgment against Defendant

   Haute Cuisine, Inc. and requests the following injunctive and declaratory relief:

          a.      The Court issue a Declaratory Judgment that determines that Defendant's mobile

                  website is in violation of Title III of the Americans with Disabilities Act, 42 U.S.C.

                  § 12181 et seq.;

          b.      The Court issue a Declaratory Judgment that Defendant has violated the ADA by

                  failing to monitor and maintain its mobile website to ensure that it is readily

                  accessible to and usable by persons with vision impairment;

          c.      The Court issue an Order directing Defendant to alter its mobile website to make it

                  accessible to, and useable by, individuals with disabilities to the full extent required

                  by Title III of the ADA;

          d.      The Court issue an Order directing Defendant provide the appropriate auxiliary aids

                  such that individuals with visual impairments will be able to effectively

                  communicate with the mobile website for purposes of comprehending Defendant’s

                  Fiola menu selections, ordering/paying for gift cards, and making reservations, and

                  during that time period prior to the mobile website’s being designed to permit

                  individuals with visual impairments to effectively communicate, requiring

                  Defendant to provide an alternative method for individuals with visual impairments

                  to effectively communicate so that disabled individuals are not impeded from

                  obtaining the goods and services made available to the public through Defendant’s

                  mobile website.

          e.      The Court enter an Order directing Defendant to evaluate and neutralize its policies

                  and procedures towards persons with disabilities for such reasonable time so as to




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                 allow Defendant to undertake and complete corrective procedures;

          f.     The Court enter an Order directing Defendant to continually update and maintain

                 its mobile website to ensure that it remains fully accessible to and usable by visually

                 impaired individuals;

          g.     The Court award attorney’s fees, costs and litigation expenses pursuant to 42

                 U.S.C. § 12205; and,

          h.     The Court provide such other relief as the Court deems just and proper, and/or is

                 allowable under Title III of the Americans with Disabilities Act.


   Dated: February 15, 2022
                                                Respectfully submitted,

                                                /s/ J. Courtney Cunningham
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